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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

ROOT, INC.,                              :
80 E Rich St., Suite 500,                :
Columbus, OH 43215,                      :
                                         : Case No.
CARET HOLDINGS, INC.                     :
80 E Rich St., Suite 500,                :
Columbus, OH 43215,                      : Judge
                                         :
ROOT INSURANCE AGENCY, LLC               :
80 E Rich St., Suite 500,                :
Columbus, OH 43215,                      : JURY DEMAND ENDORSED HEREON
                                         :
              Plaintiffs,                :
                                         :
       v.                                :
                                         :
BRINSON CALEB “BC” SILVER,               :
6311 Summertime Ln.                      :
Culver City, CA 90230-4579,              :
                                         :
WILLIAM CAMPBELL,                        :
1250 Wynn Rd.                            :
Pasadena, CA 91107-1547,                 :
                                         :
COLLATERAL DAMAGE, LLC,                  :
Registered Agent: LEGALZOOM.COM,         :
Inc.                                     :
101 N Brand Blvd., 11th Floor            :
Glendale, CA 91203,                      :
                                         :
ECLIPSE HOME DESIGN, LLC,                :
Registered Agent: United States          :
Corporation Agents, Inc.                 :
651 N. Broad St., Suite 201              :
Middletown, DE 19709,                    :
                                         :
QUANTASY & ASSOCIATES, LLC,              :
Registered Agent: ERESIDENT AGENT,       :
Inc.                                     :
7801 Folsom Blvd., Suite 202             :
Sacramento, CA 95826,                    :
                                         :
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 PAIGE MCDANIEL,                                :
 5576 Alexanders Lake Rd.                       :
 Stockbridge, GA 30281,                         :
                                                :
 LAUREN LANSKIE,                                :
 12014 Kling St., Apartment 3                   :
 Valley Village, CA 91607-3924,                 :
                                                :
                Defendants.                     :

        VERIFIED COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

       Plaintiffs Root, Inc., Caret Holdings, Inc. (“Caret Holdings”), and Root Insurance Agency,

LLC (“RIA”) (together, “Plaintiffs” or “Root”), by and through their undersigned counsel, and for

their Complaint against Defendants Brinson Caleb “BC” Silver (“Silver”), William Campbell

(“Campbell”), Collateral Damage, LLC (“Collateral Damage”), Eclipse Home Design LLC

(“Eclipse”), Quantasy & Associates, LLC (“Quantasy”), Paige McDaniel (“McDaniel”), and

Lauren Lanskie (“Lanskie”) (collectively, “Defendants”), aver and allege as follows:

                                       INTRODUCTION

       1.      Root is a publicly-traded technology company based in downtown Columbus,

Ohio, that offers a novel, app-based approach to property and casualty insurance.

       2.      Silver was Root’s Chief Marketing Officer between November 2021 and November

2022. Throughout 2022, Silver, Campbell and several other co-conspirators engaged in a brazen

and sophisticated scheme to defraud Root of at least $9.4 million.

       3.      Root hired Silver believing he was an experienced leader and would be skilled at

getting maximum value for Root’s modest marketing budget for the year 2022. Silver, however,

had other plans. Within days of starting his job at Root, Silver contacted Campbell to engage

Campbell’s company, Quantasy. Through Silver, Root contracted with Quantasy to perform

marketing services for Root, and Root paid Quantasy more than $13 million. But, unbeknownst



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to Root management, Silver was directing Campbell and Quantasy to transfer over $9.4 million of

those payments to another company called Collateral Damage, which was owned and controlled

by Silver. Silver never disclosed Collateral Damage’s existence to Root management, much less

the glaring conflict of interest.

        4.      Silver, Campbell, and the other co-conspirators executed this scheme to defraud

Root and enrich themselves completely hidden from and unbeknownst to Root management, and

without any authority from Root. Indeed, Root did not discover the fraud until after Silver had left

the employment of Root.

        5.      Once the funds had been transferred to Silver via Collateral Damage, upon

information and belief, Silver used the funds to purchase luxury real estate in Florida and

California for and in the name of another of his companies, Eclipse.

        6.      By this Complaint, Plaintiffs seek damages against Silver, Campbell, Quantasy,

Collateral Damage, and the other co-conspirators for their brazen acts of theft from Root.

                                    JURISDICTION AND VENUE

        7.      This Court has subject-matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 because this action arises, in part, under the Federal Racketeer Influenced and Corrupt

Organizations Act (“Federal RICO”).

        8.      This Court has jurisdiction over Plaintiffs’ related state and common law claims

pursuant to the doctrine of supplemental jurisdiction under 28 U.S.C. § 1367(a) because they are

all part of the same case or controversy.

        9.      This Court also has subject-matter jurisdiction pursuant to 28 U.S.C. § 1332(a)

because the amount in controversy exceeds $75,000, exclusive of costs and interest, and there is

complete diversity of citizenship between Plaintiffs and the Defendants.




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        10.   Venue in this Court is proper in this District pursuant to 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to the claims occurred in this

District.

                                                 PARTIES

        11.   Plaintiff Root, Inc. is an insurance holding company incorporated under the laws of

Delaware with a principal place of business in Columbus, Ohio. Root, Inc. is the parent company

of Caret Holdings, which is the parent company of RIA.

        12.   Plaintiff Caret Holdings, Inc. is incorporated under the laws of Delaware with its

principal place of business in Columbus, Ohio.

        13.   Plaintiff Root Insurance Agency, LLC is an Ohio limited liability company with its

principal place of business in Columbus, Ohio. Caret Holdings is the sole member of RIA.

        14.   Defendant Brinson Caleb (“BC”) Silver (formerly Brinson Bernard McDaniel) is

an individual that, upon information and belief, resides in both California and Florida and is a

citizen of California and Florida. Silver is Root’s former Chief Marketing Officer (“CMO”).

        15.   Defendant Paige Lynette McDaniel is an individual that, upon information and

belief, resides in the state of Georgia and is a citizen of Georgia. Upon information and belief,

McDaniel is Silver’s sister and a member of Collateral Damage.

        16.   Upon information and belief, Defendant Collateral Damage, LLC is a limited

liability company formed under the laws of California and/or Georgia.

        17.    Upon information and belief, Defendant Quantasy & Associates, LLC is a limited

liability company formed under the laws of Delaware with headquarters in California. Quantasy

is an advertising agency in the Los Angeles area that began operating in 2012.

        18.   Defendant William Campbell was during all relevant times, the Chief Executive




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Officer (“CEO”) of Quantasy. Upon information and belief, Campbell is an individual who resides

in California and is a citizen of California.

       19.     Defendant Lauren Lanskie is an individual that, upon information and belief,

resides in Valley Village, California and is a citizen of California.

       20.     Defendant Eclipse Home Design LLC is a limited liability company formed under

the laws of Delaware with an address of 1111 Lincoln Road, Miami Beach, Florida. Upon

information and belief, Silver is the sole member of Eclipse.

                             FACTS COMMON TO ALL CLAIMS

       A.      Root Hires Silver as Chief Marketing Officer.

       21.     In the summer of 2021, Root retained an executive search firm to recruit a CMO.

       22.     By the fall of 2021, the executive search firm identified Silver and presented Silver

to Root as a possible candidate for the position. Based on the materials provided by the search

firm, Root hired Silver.

       23.     On November 8, 2021, Silver and Caret Holdings executed an executive

employment agreement (“Employment Agreement”).

       24.     In addition to providing Silver’s salary, benefits, and job responsibilities, the

Employment Agreement required Silver to “perform [his] duties, responsibilities and functions to

the Company […] in a diligent, trustworthy, professional, ethical and efficient manner and []

comply with the policies and procedures of the Company[.]”

       25.     Upon commencing his employment at Root, Silver signed several onboarding

documents on November 16, 2021, including a Conflicts of Interest Policy. Root’s Conflicts of

Interest Policy provided that: “Root expects all employees to conduct themselves and company

business in a manner that reflects the highest standards of ethical conduct and in accordance with




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all federal, state, and local laws and regulations. This includes avoiding real and potential conflicts

of interest.”

        26.     Silver was employed as Root’s CMO between approximately November 8, 2021

and November 9, 2022, at which point he was exited as part of a company-wide reduction in force

(“RIF”).

        B.      Silver Hires Quantasy to Funnel Root’s Payments into His Own Company,
                Collateral Damage.

        27.     Upon information and belief, Silver and Campbell were previous acquaintances

who had worked together prior to Silver joining Root. On or about November 22, 2021—within

two weeks of signing his Employment Agreement, conflict-of-interest documents, and starting his

employment at Root—Silver sent Campbell a series of text messages. In these initial text message

exchanges, Silver and Campbell discussed Root’s retaining Quantasy as a marketing vendor.

        28.     On December 3, 2021, Campbell sent Silver a text message attaching a draft Scope

of Work agreement (“SOW”). On December 9, 2021, Campbell then sent Silver a text message

containing a revised version of the SOW. On January 30, 2022, Silver continued to revise the

SOW via text message, providing additional information for Campbell to include in the SOW.

        29.     On February 3, 2022, at Silver’s direction, Root signed the SOW with Quantasy

(“SOW #1”) with an effective date of February 1, 2022. Pursuant to SOW #1, Root was to pay

Quantasy a fee of approximately $1,184,445 for “Client Partnerships”; “Brand Strategy”; and

“Creative Services / Development Support.”             SOW #1 provided that Root would pay

approximately 40% of the outstanding amount, or $473,778.00, “upon commencement”; 35%, or

$414,555.75, by February 18, 2022; and 25%, or $296,111.25, by March 1, 2022. On February 3,

2022, Quantasy invoiced Root for $473,778 (Invoice No. 2277).

        30.     After facilitating the relationship with Quantasy, Silver and Campbell set up a



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scheme by which Quantasy would transfer funds to Silver’s company, Collateral Damage. On

February 7, 2022, Silver sent Campbell a message, using the WhatsApp messaging application,

containing an account number and routing numbers for Collateral Damage’s Bank of America

bank account. Silver included in his message that Collateral Damage had an address of “45 South

Arroyo Pkwy Pasadena, Ca 91105.” No Root employee other than Silver was involved in this

communication. As reflected below, when discussing Collateral Damage, Silver and Campbell

almost exclusively used WhatsApp in an attempt to avoid detection.

       31.    On February 9, 2022, at Silver’s direction, Root paid Invoice No. 2277, via wire to

Quantasy, in the amount of $473,778. The same day, Silver sent Campbell a text message saying,

“Payment went out. Excited to have you all on the team.”

       32.    On February 11, 2022, Silver sent Campbell the first invoice for Collateral Damage

via a WhatsApp message. The invoice, numbered 12012021 and dated January 29, 2020, was for

$153,778 and identified Collateral Damage’s purported services as “2020 Promotion Plan” and

“Campaign Design Support.” The invoice contained the same routing number and accounting

number for Collateral Damage that Silver had sent Campbell on February 7, 2022.

       33.    Other than Silver, Root management had no knowledge of Collateral Damage’s

existence, that it was Silver’s business, or any purported work it was performing with Quantasy

for Root.

       34.    Also on February 11, 2022, Silver and Campbell appear to have had an in-person

meeting at Quantasy’s Los Angeles offices.

       35.    After their meeting and the first Collateral Damage invoice, Silver and Campbell

continued discussing payment arrangements for Collateral Damage. Specifically, on February 13,

2022, via WhatsApp Silver and Campbell discussed how the payments would be divided. As




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shown in Figure 1 below, Silver and Campbell discussed: (i) the percentage of each of Root’s

payments to Quantasy that Collateral Damage would receive; and (ii) the percentage of Root’s

payments to Quantasy that Quantasy would receive.

                                            Figure 1




       36.    In these WhatsApp messages Silver explained to Campbell that Quantasy would

receive $800,000 of the SOW #1 value, and that Collateral Damage would receive the remaining

$384,444 of the SOW #1 value. Silver suggested that Collateral Damage’s payments be split into

two portions, but Campbell stated that there should be three payments to Collateral Damage and

that they should be divided up “pro rata” i.e. the same way that Root’s payments to Quantasy were

divided (40%, 35%, 25%). Silver and Campbell agreed to this division and that Collateral Damage

would receive its payments totaling $384,444 in the same tranches that Quantasy received its

payments from Root: Collateral Damage would receive 40% of the total $384,444 sum in

Quantasy’s first payment to Collateral Damage; 35% of the total $384,444 sum in Quantasy’s

second payment to Collateral Damage; and the remaining 25% of the total $384,444 sum in

Quantasy’s third payment to Collateral Damage, just as Quantasy received 40% of the total of

SOW #1 from Root upon execution; 35% of the total of SOW #1 from Root on February 18, 2022;


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and the remaining 25% of the total of SOW #1 from Root on March 1, 2022.

       37.     On about February 14, 2022, pursuant to the payment schedule Silver and Campbell

agreed to, and unbeknownst to Root management (other than Silver), Quantasy wired $153,778 to

the Collateral Damage account that Silver had provided in his February 7, 2022 WhatsApp

message to Campbell.

       38.     On February 23, 2022, Campbell sent Root Quantasy invoice number 2286 for

$414,555.75 with an already expired due date of February 18, 2022.

       39.     On February 24, 2022, Campbell met, via videoconference, with certain members

of Root management, including Silver to present Quantasy’s ideas for Root’s marketing

campaigns. Following the meeting, Silver sent Campbell a text message stating, “I had to explain

some things to leaders, but they finally kinda started to see the light[.] That said, it doesn’t really

matter, I have autonomy to do what I need to do.”

       40.     On February 25, 2022, Campbell sent Silver a text message notifying him that Root

had yet to pay Quantasy for Invoice No. 2286 ($414,555.75). On or about March 2, 2022,

Campbell sent Silver a WhatsApp message, again stating that Root had yet to pay Quantasy for

Invoice No. 2286. Campbell wrote that Collateral Damage should send its “invoice for phase 2”

so that Quantasy could “have [it] ready” once Quantasy received Root’s next payment. Campbell

wrote that Silver should have “Lauren…send the next one.” Upon information and belief,

Campbell and Silver are referring to Lauren Lanskie and the “next one” was the second invoice

from Collateral Damage.

       41.     On March 4, 2022, Campbell sent Silver a text message notifying him again that

Quantasy had still not received payment from Root for Invoice No. 2286.

       42.     On March 7, 2022, at Silver’s direction, Root wired Quantasy $414,555.75 for




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payment of Invoice No. 2286.

       43.     After receiving Root’s payment on March 8, 2022, Campbell sent a text message

to Silver on March 9, 2022, notifying Silver that Root’s payment had been received. Campbell

again told Silver (via a WhatsApp message) that he had not “receive[d] anything from Lauren.”

Campbell asked Silver to “resend” Collateral Damage’s invoice, and assured Silver that “[o]ur

team can handle right away.” In response to this WhatsApp message, Silver sent Campbell

Collateral Damage’s second invoice. This invoice, numbered 12022021, was for $134,555.75;

included an invoice date of February 27, 2022 and a due date of March 1, 2022; and included as

services “2021 Promotion Plan” and “Campaign Design Support.”                On March 9, 2022,

unbeknownst to Root management (other than Silver), Quantasy wired Collateral Damage

$134,555.75 to the bank account that Silver had provided Campbell on February 7, 2022.

       44.     On March 16, 2022, Silver sent Campbell a text message instructing Campbell to

only direct invoices to Silver in the future. Specifically Silver wrote that Individual A, Silver’s

direct marketing report at Root, was no longer authorized to approve Quantasy invoices and that

invoices should be routed through him instead: “Send to just invoices and me[.] No longer

[Individual A]. She no longer approves invoices.” Campbell responded, “Uh oh. Did she get in

trouble? You were not playing.” Silver wrote back: “Yes. I can’t have our vendors not being

paid on time.” But Individual A was not “in trouble.” Rather she was only removed from the

communication between Campbell and Root by Silver to ensure that she did not discover Silver

and Campbell’s scheme.

       45.     On March 17, 2022, Quantasy sent Root invoice number 2303 for $296,111.25.

This invoice was dated March 1, 2022 with a due date of March 1, 2022.

       46.     On March 24, 2022, at Silver’s direction, Root wired Quantasy $296,111.25 in




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payment of invoice 2303.

       47.     The next day, on March 25, 2022, Silver sent Campbell a WhatsApp message

alerting him that Quantasy “should have received the payment today.” Campbell responded,

“[c]onfirmed” and “[p]lease have Lauren send an invoice.” Silver responded to Campbell that

Lauren “sent the invoice.”

       48.    That same day, Campbell received an email from Lauren Lanskie attaching

Collateral Damage invoice number 03012021 dated March 1, 2022, for $96,111.25.

       49.    On March 28, 2022, unbeknownst to Root management (other than Silver),

Quantasy wired Collateral Damage $96,111.25 to the bank account that Silver had provided

Campbell on February 7, 2022.

       50.    In total, pursuant to the February 13, 2022 WhatsApp arrangement between Silver

and Campbell on behalf of Collateral Damage and Quantasy, Quantasy was paid a total of

$1,184,444 from Root. And Quantasy secretly transferred $384,444 of that amount to Collateral

Damage. Throughout this period, Root management was unaware of Collateral Damage, or that

it was Silver’s company, and had no knowledge that Quantasy was paying Collateral Damage out

of the money paid to Quantasy by Root. Root management received no documents or other

materials from Collateral Damage to substantiate the $384,444 fee it received and, upon

information and belief, Root received no value for the $384,444 that was paid by Quantasy to

Collateral Damage.

       C.     Silver and Campbell Continue To Defraud Root.

       51.    At some point after April 1, 2022, Silver caused Root to enter into a second Scope

of Work (“SOW #2”) with Quantasy valued at $14.7 million. SOW #2 included an effective date

of February 1, 2022 and provided that Root would pay Quantasy $7,350,000 by April 1, 2022, and

another $7,350,000 by April 15, 2022. Campbell signed SOW #2 on behalf of Quantasy and Silver


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signed on behalf of Root. On April 1, 2022, Campbell sent an email to Silver and Root’s invoicing

department attaching two Quantasy invoices: invoice number 2307 for $3,450,000, and invoice

number 2308 for $3,900,000, for a total of $7,350,000. Both invoices were due “on receipt.”

        52.      On April 4, 2022, Root wired to Quantasy, at Silver’s direction, a total of

$7,350,000 as payment for invoices 2307 and 2308.

        53.      The next day, April 5, 2022, Silver sent Campbell a WhatsApp message telling

Campbell that “[p]ayments were sent out yesterday” and telling Campbell to “[l]et me know when

you receive” because Silver will “have Lauren forward the invoice this morning.”

        54.      On or about April 6, 2022, Campbell sent an email to Silver’s private email account,

“hello@bc-silver.com,” informing Silver that Quantasy had already “started putting together a

sub-contracting agreement between Quantasy and your company Collateral Damage.” Campbell

stated that Quantasy’s attorney had “reminded” Campbell that “the advertising industry, especially

the leading brands (both individually and through the ANA) have been very focused on the issues

of subcontracting with interested parties and payments to agencies that include payments to third

parties.”     Campbell advised Silver that Quantasy’s attorneys “recommend[] . . . that the

relationship between Quantasy and Collateral damage be approved by Root.” Campbell suggested

that “this can be done by having simple approval language in the subcontracting agreement

between Collateral Damage and Quantasy. It can also be done by way of a separate document

between Root and Quantasy that authorizes the subcontracting relationship, services provided, etc.

The approval can be signed by someone in Root’s procurement, finance or legal.” This after-the-

fact attempt to “formalize” an agreement between Quantasy and Collateral Damage with Root’s

purported approval was a further attempt to hide from Root the misdeeds being perpetrated by

defendants Silver, Quantasy, Campbell, Collateral Damage, and Lanskie. In any event, no such




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authorization or approval by Root ever occurred. At no point did Silver disclose his affiliation

with Collateral Damage—or Collateral Damage’s existence, much less any work Collateral

Damage was purportedly doing for Root or Quantasy—to other members of Root management.

       55.     On or about April 7, 2022, Silver sent a WhatsApp message to Campbell that Silver

had been “completely removed from any previous ownership of CD.”

       56.     Upon information and belief, on or about April 11, 2022, Silver and McDaniel, a

convicted felon awaiting sentencing in Georgia for mortgage fraud, caused a certificate of

organization for Collateral Damage to be filed with the Georgia Secretary of State. The certificate

of organization was signed by McDaniel, who, upon information and belief, is Silver’s sister, and

was an additional attempt to hide Collateral Damage and its affiliation with Silver.

       57.     But despite the Georgia registration and his claim that he was “completely

removed” from ownership of Collateral Damage, Silver registered Collateral Damage as a

California LLC in his own name, on or around May 10, 2022. The address given for Collateral

Damage on the California registration in Pasadena, California matches the address on Collateral

Damage’s invoices to Quantasy and the address for Collateral Damage provided by Silver to

Campbell on February 7, 2022.

       58.     Far from distancing himself from Collateral Damage, beginning in mid-April 2022,

Silver’s contact with Campbell regarding the timing of payments to Collateral Damage became

more urgent and aggressive. On April 11, 2022, Silver began questioning Campbell about when

Collateral Damage would be paid by Quantasy over a series of WhatsApp messages, first asking:

“What is the latest on the transfer? Did it go out Friday or this morning? They said it has not arrived

yet. Maybe it’s weekend processing, so it will hit tomorrow.” That same day, unbeknownst to

Root management (other than Silver), Quantasy wired Collateral Damage $500,000. Two days




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later, on April 13, 2022, again unbeknownst to Root management (other than Silver), Quantasy

wired Collateral Damage another $500,000.

       59.     On April 14, 2022, Silver sent Campbell a WhatsApp message outlining specific

directions to follow when creating and sending invoices to Root. Silver instructed that they should

“make sure invoices are less than $10M so they don’t need board approval.” Later that same day,

on April 14, 2022, Campbell sent Root’s invoicing department an email message attaching two

Quantasy invoices:     invoice number 2316 for $3,450,000, and invoice number 2317 for

$3,900,000, for a total of $7,350,000.

       60.     On April 15, 2022, Quantasy wired Collateral Damage another $500,000. Five

days later, on April 20, 2022, Quantasy wired Collateral Damage an additional $1,300,000. As of

April 20, 2022, Quantasy had paid Collateral Damage $2.8 million from the funds that Root had

paid Quantasy under SOW #2. Root management (other than Silver) was unaware of any of these

payments to Collateral Damage.

       61.     On April 25, 2022, Root, at Silver’s direction, wired Quantasy $7,350,000 in

payment of invoices 2316 and 2317.

       62.     On April 27, 2022, Lanskie sent a W-9 tax form to Campbell for Collateral Damage.

The form was electronically signed by “Paige Lynette” who, upon information and belief, is Paige

Lynette McDaniel, Silver’s sister.

       63.     Also on April 27, 2022, Campbell received an email from Lauren Lanskie attaching

Collateral Damage’s invoice 04152021 for $5.6 million, with an April 15, 2022 due date. The

invoice states that Collateral Damage will “implement a sports marketing program integrating

athletes and sports organizations . . . for Root Insurance in support of national awareness with an

additional regional two-state focus in Colorado and Oklahoma.” Root management (other than




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Silver) was not aware of any, nor did it ever receive any, sports marketing program from Collateral

Damage or Quantasy. On April 27, 2022, Quantasy wired $1.5 million to the Collateral Damage

bank account that Silver had provided to Campbell. The next day, April 28, 2022, Quantasy wired

a total of $1.3 million to that same account. Root management (other than Silver) was unaware of

any of these payments to Collateral Damage.

       64.     Between April 27, 2022 and May 17, 2022, Silver continued to message Campbell

on WhatsApp about the timing of the remaining wire payments from Quantasy to Collateral

Damage. Silver was persistent in sending these types of messages throughout April and May to

ensure that Collateral Damage was receiving its portion of Root’s money.

       65.     On May 11, 2022, Silver sent a WhatsApp message to Campbell stating: “Ideal

deployment schedule” for Quantasy’s wires to Collateral Damage: “Wire May 11 - $500k[;] May

12- $500k[;] May 13 - $500k ACH[;] May 11 - $2M (Scheduled) arrival by May 13.” That

message is shown in Figure 2 below:

                                             Figure 2




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       66.     Also on May 11, 2022, and as shown below, Campbell received an email from

Lanskie’s Collateral Damage email address attaching Collateral Damage invoice number

05092022 for $3.5 million with a due date of May 10, 2022. Although the email attaching the

invoice is from “lauren@collateraldamage.agency” the message is signed by “BC,” (i.e. Silver).

                                             Figure 3




       67.     As with Collateral Damage invoice 04152021, invoice 05092022 states that

Collateral Damage will “implement a sports marketing program integrating athletes and sports

organizations . . . to active for brand clients. In support of national awareness with an additional

regional and national executions.” Root management (other than Silver) was never aware of any

sports marketing program that was to be implemented by Collateral Damage or Quantasy.

       68.     On May 11, 2022, Quantasy wired $500,000 to the Collateral Damage bank account

that Silver had provided Campbell on February 7, 2022. Root management (other than Silver) was

unaware of this payment to Collateral Damage. On or about May 12, 2022, Silver sent Campbell

a WhatsApp message, telling Campbell that “the team said they didn’t see the second wire today”

and asking Campbell if he could be put in direct contact with whoever is sending the money from



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Quantasy so that Silver did not need to “bother[]” Campbell further about the payments to

Collateral Damage.

       69.     The next day, on May 13, 2022, Quantasy sent two additional wires for $500,000

each to the Collateral Damage bank account. Root management (other than Silver) was unaware

of any of these payments to Collateral Damage.

       70.     On May 16, 2022, Silver sent WhatsApp messages with even more heightened

urgency to Campbell, telling Campbell that “[s]ame day wires should be used for today’s

completion” and that “[w]hatever that comes in beyond the $2M will be returned to Quantasy

within 24 hours.” Silver told Campbell that in order to get the money as quickly as possible, “my

team will just walk into the physical branch to schedule a transfer” and that “my team will also

update me the moment the[y] see it reflected on their side.” Silver also said that the money was

“supposed to make it into the account last week on Friday, but it never arrived.” That same day,

Quantasy wired an additional $500,000 to the Collateral Damage account. Root management

(other than Silver) was unaware of this payment to Collateral Damage.

       71.     On May 17, 2022, as reflected in Figures 4-6 below, Silver sent increasingly

desperate messages to Campbell requesting that Campbell urgently transfer funds to Collateral

Damage, telling Campbell that “this is major for me today, in the next hour” and “please . . . send

over final confirmation in the next hour.” When Campbell responded that his employees were

busy with work on another account, Silver told Campbell: “I thought we had a good plan ahead

of schedule, but I understand things get confusing. Please have him Hope [sic] out they are a bit

under the gun on an acquisition.” Silver then sent Campbell a screenshot of Silver’s text message

conversation with third party with the initial “K” stating that, “Maria is stalling as much as she

can, but if seller asks if she has the money in escrow, she cannot lie. As you know, legally wire




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should have been there yesterday. We’ve been able to stall due to this delay on the lien/permit

(title) search. However, if the search gets back before wire is received we’re in breach of contract.”

(Figure 5). Later that same day, Campbell sent Silver a photograph of Campbell standing in front

of Chase bank, indicating the final wire transfer was completed, to which Silver responded: “That’s

my dawg. Send confirmation once you have it.” Root management (other than Silver) were

unaware of these communications between Silver and Campbell.

                                              Figure 4




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                                    Figure 5




                                    Figure 6




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       72.     On May 17, 2022, Quantasy wired a total of $1.5 million to Collateral Damage.

       73.     In total, Quantasy was paid $14,700,000 from Root related to SOW #2 and, of that

amount, Quantasy transferred $9,100,000 to Collateral Damage. Throughout this period, Root

management (other than Silver) was unaware of Collateral Damage, or that Collateral Damage

was Silver’s company, and had no knowledge that Quantasy was paying Collateral Damage from

the money Root paid to Quantasy. Root management (other than Silver) received no documents

or other materials from Collateral Damage to substantiate the $9,100,000 fee it received and, upon

information and belief, Root received no value for the $9,100,000 that was paid by Quantasy to

Collateral Damage.

       74.     On information and belief, Silver used the funds wired to Collateral Damage to

make various purchases. Between April 2022 and August 2022, Silver purchased at least three

high-end residential properties in Miami, Florida, and Venice, California, totaling in excess of $10

million. Upon information and belief, Silver’s real estate purchases were funded, at least in part,

by the money Quantasy wired to Collateral Damage. In order to conceal his ownership of the

properties, Silver purchased these properties using Eclipse, which, upon information and belief, is

a limited liability company owned and controlled by Silver.

       75.     While all three home purchases occurred around the time of Quantasy’s fraudulent

transfer of over $9.4 million to Collateral Damage, one of Eclipse’s (Silver’s) purchases lines up

precisely with the timing of Silver’s frantic messages to Campbell in Figures 4-6 above. On May

13, 2022, a warranty deed was conveyed to Eclipse for a property located at 13105 Biscayne Island

Terrace, Miami Shores, Florida, 33181. The warranty deed contains a re-occupancy certificate

signed by Silver. The mortgage on the property was recorded on June 27, 2022 for $1,195,000,

and is also signed by Silver as Eclipse’s “Managing Member.”




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       76.     According to the Zillow real estate website, 13105 Biscayne Island Terrace is a

waterfront property that sold for $3,250,000 on May 18, 2022, the day after Silver’s frantic

messages to Campbell. Figure 7 below is a publicly available picture of the 13105 Biscayne Island

Terrace property.

                                             Figure 7




       77.     A month earlier, on April 28, 2022, Eclipse was conveyed another property in

Miami Dade County by deed. The April property has a Parcel Identification Number of 11-3205-

001-0590, which publicly available records indicate is a property located at 9125 North Bayshore

Drive. Silver, acting as Eclipse’s “Managing Member,” is the signatory for a $2,275,000 mortgage

on the 9125 North Bayshore Drive property.

       78.     According to the Zillow website, 9125 North Bayshore Drive is a waterfront

property that sold for $4,350,000 on April 28, 2022. Figure 8 is a publicly available picture of the

9125 North Bayshore Drive property.


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                                           Figure 8




       79.      On August 2, 2022, a mortgage of $1,932,000 was recorded on a property at 2543

Walnut Avenue, Venice, California 90291. The mortgage was signed by Silver as a “Managing

Member” of Eclipse. According to Zillow, 2543 Walnut Avenue sold on August 2, 2022 for

$3,295,000. Figure 9 is a publicly available picture of the 2543 Walnut Avenue property.


                                            Figure 9




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       D.      Silver and Campbell Attempt to Further Cover Up Their Fraud.

       80.      In or about June and July 2022, Root’s Finance Department became aware of

unplanned spending from the marketing department and began investigating the cause of the

overage.

       81.      Aware of this heightened scrutiny, Silver and Campbell issued a series of change

orders in an attempt to cover their tracks. Among other things, the change orders stated that the

money that Root had already paid Quantasy pursuant to SOW #2, and that Quantasy had already

paid (unbeknownst to Root) to Collateral Damage, constituted Root’s “prepaid funds” that were

available for future spend. With the exception of the February 24, 2022 presentation to Root

management, which provided no actual marketing or advertising for Root and for which Quantasy

charged Root a staggering $1.2 million dollars, Quantasy provided little in the way of services to

Root. Rather the “value” enjoyed was by windfall to Quantasy for services not provided and by

Silver who now enjoyed the benefits of owning three multi-million dollar properties purchased

with Root’s funds.

       82.      On July 25, 2022, at Root’s request and urging, Quantasy agreed to return $1.2

million from SOW #2 to Root, bringing SOW #2’s new value down from $14.7 million to $13.5

million. This agreement had an effective date of July 5, 2022. Root received this $1.2 million

refund via wire payment on August 26, 2022. Silver conducted all communications with Quantasy

related to the $1.2 million himself, without involvement by others at Root, and at no time did

Quantasy disclose to anyone at Root that the majority of the $14.7 million was actually not held

by Quantasy at all, but had been transferred to Silver’s company months earlier and then spent by

Silver on his luxury coastal homes.

       83.      In late July 2022, Root initiated an internal audit to fully investigate and




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determine the cause of the suspiciously high marketing spend. Root was particularly interested in

investigating Root’s relationship with Quantasy, as the money paid to Quantasy represented the

bulk of the increased marketing expense. At this point, Root management (other than Silver) was

still unaware of the payments made by Quantasy to Collateral Damage.

       84.       On August 20, 2022, Quantasy and Collateral Damage entered into an after-the-

fact subcontractor agreement, with an effective date of February 2, 2022. “Paige Lynette” appears

as signatory for Collateral Damage as “President,” and Campbell signed on behalf of Quantasy.

       85.       On or around August 22, 2022, Root’s internal audit team questioned Campbell

directly about Quantasy’s work for Root to determine whether there was justification for the

millions of dollars Root had paid to Quantasy. Loyal to Silver and their scheme, Campbell lied to

Root and never disclosed that, in fact, the majority of Root’s payments had been funneled to

Collateral Damage.

       86.       Quantasy not only omitted crucial information about Collateral Damage during

the course of Root’s audit, but also explicitly misrepresented that Root’s spend with Quantasy was

still available to be reallocated and spent in 2023. On September 22, 2022, Quantasy employee

David Rodriguez confirmed to Root’s internal audit team that $10.7 million of the $14.7 million

original spend was “currently unallocated/ uncommitted at this time.” Rodriguez responded to an

email from a member of the Root team working on the internal audit that “[y]es, the $10.7M can

be used for paid media in 2023.” This was, of course, not true, as $9.1 million of the $10.7 million

was already paid to Collateral Damage.

       87.       On August 22 and August 23, 2022, Silver sent Campbell WhatsApp messages

containing screenshots of Root’s confidential communications and internal audit findings, which

did not uncover Silver and Campbell’s carefully concealed fraud. Silver wrote, “we literally are




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good. I just need for you to trust me and hold the line.”

       88.      On September 29, 2022, Quantasy purported to “assign” the August 20, 2022

subcontractor agreement between Quantasy and Collateral Damage to Root. The only signatory

on the assignment from Root was Silver; other members of Root management had no knowledge

of the assignment.

       89.      On November 9, 2022, Silver’s last day at Root, Silver purported to email Lanskie

asking Lanskie to provide Silver with all the purported agreements between Collateral Damage

and Root. Upon information and belief, the agreements were not in Root’s possession before this

November 9, 2022 email, and they include numerous indicia of having been fabricated.

       90.      Lanskie’s email attached three purported agreements between Collateral Damage

and Root: (i) an SOW between Root and Collateral Damage; (ii) a subcontractor agreement

between Root and Collateral Damage; and (iii) a Client Media Authorization (“CMA”) between

Root and Collateral Damage. Silver is the only Root signatory on any of the agreements.

             a. The SOW notes that Collateral Damage will move all “H2 Marketing Plans to

                January 2023” and that the “remaining budget will be leveraged next year.” This

                remaining budget is $9.1 million, which is the amount Quantasy sent Collateral

                Damage on SOW #2. This SOW is signed by Silver and Lanskie on behalf of

                Collateral Damage (but Lanskie’s name is misspelled as “Lanski”).

             b. The subcontractor agreement, which is dated October 4, 2022, between Root and

                Collateral Damage, sets forth that Root would engage Collateral Damage as a

                subcontractor for the provision of “strategy, branding, media and production

                services.” This agreement was also signed by Silver and Lanskie, with Lanskie’s

                name again misspelled as “Lanski.” Upon information and belief, no such




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                services have ever been provided by Collateral Damage to Root.

             c. The CMA was purportedly entered into between Root and Collateral Damage on

                October 10, 2022 by Silver and Lanskie, identifying services totaling $9.1

                million. Lanskie’s name is again misspelled as “Lanski” and she is listed in this

                document as the “Principal/Owner” of Collateral Damage. The CMA contains

                an “Estimated Budget” by partner purporting to divide the $9.1 million into three

                categories: “ESPN” ($2,222,222), “Barstool Sports” ($4,370,629) and “iHeart”

                ($2,507,142). Upon information and belief, no work was done or contemplated

                with these entities on Root’s behalf.

       91.     On November 16, 2022, following Silver’s departure from the company, Root

executives met virtually with David Rodriguez at Quantasy to engage in further discussions about

clawing back the $10.7 million that Quantasy was purportedly holding for Root to spend on

marketing initiatives in 2023. Not surprisingly, Campbell refused to attend the meeting. During

this meeting, Rodriguez disclosed to Root management, for the first time, the existence of

Collateral Damage. Rodriguez also told Root management that payments had been made to

Collateral Damage using Root’s funds. Rodriguez stated that he would be “overly transparent,”

and disclosed that Quantasy itself held approximately $1.6 million that could potentially be

returned from the $10.7 million outstanding, but that the other $9.1 million had been transferred,

immediately upon Quantasy’s receipt from Root, to Collateral Damage. This was the first time

Root management (other than Silver) learned of Collateral Damage or that the money Root

provided Quantasy had been transferred to Collateral Damage.

       92.     Root’s investigation of Silver’s misdeeds is ongoing. Upon information and belief,

Root believes that other similar fraudulent schemes may exist between (at least) Silver and other




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vendors that Silver hired during his tenure at Root. Root has recently been made aware of at least

one other vendor that transferred funds paid by Root at Silver’s direction to Collateral Damage.

Root is continuing to investigate these payments. Root reserves the right to amend its pleadings

to add allegations about these and other payments and to join other appropriate defendants as it

uncovers the necessary facts.

                          COUNT I: 18 U.S.C. § 1962(c) Civil RICO
             (Racketeer Influenced Corrupt Organizations) Against All Defendants

       93.      Plaintiffs restate the foregoing paragraphs as if fully rewritten herein.

       94.      Defendants are individuals and/or entities capable of holding a legal or beneficial

interest in property, within the meaning of “person” as defined in 18 U.S.C. § 1961(3).

       95.      Defendants constitute an association in fact under the meaning of “enterprise” as

defined in 18 U.S.C. § 1961(4). Additionally or alternatively, Collateral Damage and Eclipse

constitute an “enterprise” under 18 U.S.C. § 1961(4).

       96.      Defendants associated together as an enterprise for the purpose of executing a

scheme to defraud Plaintiffs through a pattern of racketeering consisting of distinct acts of wire

fraud and money laundering in violation of 18 U.S.C. §§ 1343 and 1956.

       97.      Silver participated in the enterprise by, among other things: devising and

participating in a scheme with Defendants Campbell, Lanskie, McDaniel, Quantasy, Collateral

Damage, and Eclipse designed to defraud Root of funds through a series of false transactions

resulting in Root’s funds being transferred (through Quantasy) to Silver’s own company, Collateral

Damage. Silver further participated in the enterprise by: actively concealing and failing to disclose

the existence of Collateral Damage and Silver’s affiliation with Collateral Damage to Root

management; utilizing Collateral Damage to submit false invoices to Quantasy for services not

rendered, nor ever rendered, for Root’s benefit, but rather for his own personal gain; filing



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corporate registration documents for Collateral Damage in California and causing a certificate of

organization for Collateral Damage to be filed with the Georgia Secretary of State in an attempt to

conceal Silver’s affiliation with Collateral Damage from Root; creating and causing to be created

false invoices, emails, contracts and subcontracts to further the scheme; abusing his authority at

Root by causing the payment of Root funds to Collateral Damage through Quantasy that were

ultimately for his personal gain; and using the ill-gotten funds received from Root through

Quantasy and Collateral Damage for his personal benefit, including the purchase of luxury homes

in California and Florida.

       98.     Campbell participated in the enterprise by, among other things, devising and

participating in a scheme with Defendants Silver, Lanskie, McDaniel, Quantasy, Collateral

Damage, and Eclipse designed to defraud Root of funds through a series of false transactions

resulting in Root’s funds being transferred (through Quantasy) to Silver’s own company, Collateral

Damage; accepting the payment of funds from Root for services not rendered; representing to Root

that Quantasy had provided services to Root when it had not; failing to disclose the existence of

Collateral Damage and its affiliation with Silver to Root; utilizing Quantasy to submit false

invoices to Root for services not rendered, nor ever rendered, for Root’s benefit; knowingly paying

funds received by Quantasy from Root over to Collateral Damage for services not rendered, nor

ever rendered, for Root’s benefit; and creating false invoices, contracts, purported work product

and subcontracts to further the scheme.

       99.     Quantasy participated in the enterprise by participating in a scheme with

Defendants Silver, Campbell, Lanskie, McDaniel, Collateral Damage, and Eclipse designed to

defraud Root of funds through a series of false transactions claiming that Quantasy and Collateral

Damage had provided services to Root when they had not and resulting in Root’s funds being




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secretly transferred (through Quantasy) to Collateral Damage; accepting the payment of funds

from Root for services not rendered; failing to disclose the existence of Collateral Damage and its

affiliation with Silver to Root; submitting false invoices to Root for services not rendered, nor ever

rendered, by Quantasy for Root’s benefit; knowingly paying funds received by Quantasy from

Root to Collateral Damage for services not rendered, nor ever rendered, for Root’s benefit; and

creating false invoices, contracts, purported work product and subcontracts to further the scheme.

       100.    Collateral Damage participated in the enterprise by among other things:

participating in a scheme with Silver, Campbell, Lanskie, McDaniel, Quantasy, and Eclipse

designed to defraud Root of funds through a series of false transactions claiming that Collateral

Damage had provided services to Root when it had not and resulting in Root’s funds being secretly

transferred (through Quantasy) to Collateral Damage; accepting the payment of funds from

Quantasy for services not rendered; submitting false invoices to Quantasy for services not

rendered, nor ever rendered, for Root’s benefit, but rather solely for the personal gain of the co-

conspirators, including Silver; creating false paperwork, including but not limited to invoices,

contracts and subcontracts to further the scheme; and ultimately disbursing the ill-gotten funds

received from Root through Quantasy for the sole benefit of its principals and employees,

including Silver, McDaniel, Lanskie, and Williams.

       101.    McDaniel, through her association with Collateral Damage, participated in the

enterprise by among other things: participating in a scheme with Silver, Campbell, Lanskie,

Collateral Damage, Quantasy, and Eclipse designed to defraud Root of funds through a series of

false transactions claiming that Collateral Damage had provided services to Root when it had not

and resulting in Root’s funds being secretly transferred (through Quantasy) to Collateral Damage;

and causing a certificate of organization for Collateral Damage to be filed with the Georgia




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Secretary of State in an attempt to conceal Silver’s affiliation with Collateral Damage from Root.

       102.    Lanskie, through her association with Collateral Damage, participated in the

enterprise by among other things: participating in a scheme with Silver, Campbell, McDaniel,

Collateral Damage, Quantasy, and Eclipse designed to defraud Root of funds through a series of

false transactions claiming that Collateral Damage had provided services to Root when it had not

and resulting in Root’s funds being secretly transferred (through Quantasy) to Collateral Damage;

accepting the payment of funds from Quantasy for services not rendered; submitting false invoices

from Quantasy for services not rendered, nor ever rendered, for Root’s benefit, but rather solely

for personal gain; and creating false paperwork, including but not limited to invoices, contracts

and subcontracts to further the scheme.

       103.    Eclipse, which is owned and controlled by Silver, upon information and belief,

participated in the scheme and knew of the fraud through Silver and ultimately received the ill-

gotten funds from Root through Quantasy and Collateral Damage. Eclipse (through Silver) then

utilized the funds, in whole or in part, to purchase luxury real estate in California and Florida.

       104.    Defendants’ scheme to defraud Plaintiffs injured Plaintiffs in an amount greater

than $9.4 million.

                             COUNT II: Fraudulent Concealment
                            Against Silver, Campbell, and Quantasy

       105.    Plaintiffs restate the foregoing paragraphs as if fully rewritten herein.

       106.    As Root’s CMO, Silver had a duty to disclose the following known material

information to Root: Collateral Damage is owned, controlled, and/or otherwise affiliated with

Silver and/or an immediate family member; Quantasy transferred funds received from Root to

Collateral Damage; Silver acted on Collateral Damage’s behalf to negotiate and facilitate the

payments from Quantasy to Collateral Damage; some or all of the funds that were transferred to


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Collateral Damage from Quantasy were not used for Root’s benefit, but were, upon information

and belief, transferred to another entity owned by Silver (Eclipse) and used to purchase real estate.

This information was material to Root’s business relationship with Quantasy because Root would

not have entered into a business relationship with Quantasy with this knowledge.

       107.    As a party to the business transaction between Root and Quantasy, Campbell and

Quantasy had a duty to disclose to Root, among other things, the following: Quantasy’s intent to

subcontract marketing work for Root to Collateral Damage; Quantasy’s intent to work out a private

payment structure with Silver that was not disclosed to anyone else at Root; that instead of

performing marketing work for Root, Quantasy and Campbell were channeling funds to Collateral

Damage even though Collateral Damage was not performing marketing services. This information

was material to Root’s business relationship with Quantasy because Root would not have entered

into a business relationship with Quantasy with this knowledge.

       108.    Silver, Campbell, and Quantasy intentionally concealed the above material

information from Root in order to induce Root into entering a business relationship with Quantasy

and paying Quantasy at least $9.4 million for services that were never rendered.

       109.    Root justifiably relied on Silver, Campbell, and Quantasy in entering the business

relationship with Quantasy because it had no knowledge of the private agreements between the

Defendants to defraud it and could not have obtained that knowledge absent Defendants’

confessions.

       110.    As a result of Silver, Campbell, and Quantasy’s concealment of material facts

concerning the transaction, Root suffered damages in an amount greater than $9.4 million.

                         COUNT III: Fraudulent Misrepresentation
                       Against Silver, Campbell, Quantasy, and Lanskie

       111.    Plaintiffs restate the foregoing paragraphs as if fully rewritten herein.


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       112.   On information and belief, Defendants Campbell, Quantasy, and Silver made

material misrepresentations during the February 24, 2022 presentation by Quantasy regarding the

work that Quantasy intended to do for Root. At that time, Campbell and Quantasy already had an

under-the-table deal with Silver for Quantasy and/or Collateral Damage to receive funds from Root

without rendering services.

       113.   Silver, Campbell, and Quantasy made material misrepresentations to Root

concerning the transaction between Root and Quantasy by claiming that the money Root had

already paid Quantasy constituted “prepaid funds” that were available for future spend in 2023.

On September 22, 2022, David Rodriguez confirmed to Root’s internal audit team that $10.7

million of the $14.7 million original spend was “currently unallocated/ uncommitted at this time”

and could be used for paid media. In reality, at least $9.1 million of these funds were already

transferred to Collateral Damage.

       114.   On    information     and   belief,   Campbell   and   Quantasy   made    material

misrepresentations to the Root internal audit team in August 2022. Campbell told Root that

Quantasy had done work for Root that justified the value of what Root paid Quantasy, when, in

fact, Quantasy had transferred the majority of the funds to Collateral Damage. Campbell acted in

his own capacity (and as a representative of Quantasy) when he was interviewed by Root’s internal

audit team.

       115.   When questioned about Collateral Damage by Root management, Silver made

material misrepresentations to Root. On November 22, 2022, Silver emailed Root’s general

counsel and stated that Silver introduced Quantasy to Collateral Damage to help with sports

marketing and gaming support. Silver further stated that Quantasy had full control over who it

selected as subcontractor. Silver informed Root’s general counsel that this was all of the




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information he could provide Root about Collateral Damage. Silver’s own counsel repeated

Silver’s misrepresentations to Root’s general counsel on December 1, 2022.

       116.    Lanskie made material representations to Root by creating and sending Root

fabricated and backdated agreements purportedly between Root and Collateral Damage in order

to cover up her and the other co-conspirators’ scheme. Lanskie’s agreements are replete with

errors and include false statements of her own title and authority to enter into the agreements, e.g.,

characterizing herself as “principal” when in fact Lanskie’s earlier emails reflect that she was in

“accounts payable” or an “executive assistant.”

       117.    Silver, Campbell, Quantasy, Collateral Damage and Lanskie made the above

representations with knowledge of their falsity and/or with such utter disregard and recklessness

as to whether they were true or false that such knowledge may be inferred.

       118.    Defendants made the representations with the intent of misleading Root into relying

upon them and continuing in the business transaction with Quantasy.

       119.    Plaintiffs justifiably relied on the representations.

       120.    Plaintiffs were directly and proximately injured as a result of their reliance on

Defendants’ representations in an amount greater than $9.4 million.

                               COUNT IV: Conversion
 Against Silver, Campbell, Quantasy, Collateral Damage, Eclipse, McDaniel, and Lanskie

       121.    Plaintiffs restate the foregoing paragraphs as if fully rewritten herein.

       122.    Plaintiffs owned or had a right to possess their funds at the time of the conversion.

       123.    Silver, Campbell, Quantasy, Collateral Damage, McDaniel, Lanskie, and Eclipse

together converted the funds by a wrongful act or disposition of Plaintiffs’ property rights by

transferring the funds to Quantasy and then to Collateral Damage. From Collateral Damage,

Defendants transferred some of the funds to Eclipse to purchase multiple multi-million dollar


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coastal properties.

       124.    Plaintiffs demanded the return of the funds from Defendants after Defendants

exerted dominion or control over the property. On or about June or July 2022, when Root’s finance

department became aware of the excessive and unauthorized spend from the marketing

department, it demanded the return of funds from Quantasy.

       125.    Quantasy and Campbell refused to return all of the stolen funds to Plaintiffs.

Instead, Quantasy returned a total of $2.8 million of the $15.9 million paid to Quantasy.

       126.    Plaintiffs were injured by Defendants’ conversion in an amount greater than $9.4

million.

           COUNT V: O.R.C. 2307.60, 2307.61 Civil Action for Criminal Theft
 Against Silver, Campbell, Quantasy, Collateral Damage, Eclipse, Lanskie, and McDaniel

       127.    Plaintiffs restate the foregoing paragraphs as if fully rewritten herein.

       128.    By stealing money from Plaintiffs, Defendants Silver, Campbell, Quantasy,

Collateral Damage, Eclipse, Lanskie and McDaniel have committed a theft offense under Ohio

law.

       129.    Defendants, with purpose to deprive Plaintiffs of the funds, knowingly obtained or

exerted control over the funds without Plaintiffs’ consent, and/or beyond the scope of the express

or implied consent Plaintiffs gave Defendants, and/or by deception.

       130.    Silver did not have Plaintiffs’ permission to transfer funds to Quantasy under the

circumstances alleged herein in which Quantasy transferred the majority of Root’s funds to

Collateral Damage, a concealed third party.

       131.    Campbell, Quantasy, Collateral Damage, Eclipse, Lanskie, and McDaniel all

exerted control over the funds without Plaintiffs’ consent because Silver did not have Plaintiffs’

consent to transfer those funds to them. As described herein, Campbell, Quantasy, Collateral



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Damage, Eclipse, Lanskie, and McDaniel took steps to induce and actively conceal their scheme

from Plaintiffs.

       132.    Campbell and Quantasy exerted control over the funds beyond the scope of the

express or implied consent Plaintiffs gave them by subcontracting work and paying millions of

dollars to Collateral Damage without Root’s knowledge or permission.

       133.    As a result of Defendants’ theft of the funds, Plaintiffs suffered damages in an

amount greater than $9.4 million.


 COUNT VI: O.R.C. 2913.05 Civil Action for Criminal Act of Telecommunications Fraud
        Against Silver, Campbell, Quantasy, Lanskie and Collateral Damage

       134.    Plaintiffs restate the foregoing paragraphs as if fully rewritten herein.

       135.    Defendants, having devised a scheme to defraud, knowingly transmitted by means

of a telecommunications device a writing with the purpose to execute or otherwise further the

scheme to defraud.

       136.    As set forth above, Defendants Silver and Campbell communicated via text

message, WhatsApp, and Silver’s personal email throughout the relevant time period to act on

behalf of Quantasy and Collateral Damage as part of their scheme to defraud Plaintiffs. By way

of example:

              a. Silver first messaged Campbell via text message to discuss Root hiring Quantasy

                   to perform marketing work.

              b. Silver and Campbell, via text message, communicated about the SOW in

                   December 2021.

              c. Then, using WhatsApp, Silver and Campbell negotiated and decided how to split

                   up each of Root’s payments between Quantasy and Collateral Damage.



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              d. After Quantasy presented a PowerPoint presentation to Root, Silver told

                 Campbell via text message that even though Root’s leadership was not impressed

                 by the presentation, he could hire Quantasy because he had “the autonomy to do

                 what I need to.”

              e. Silver sent fraudulent Collateral Damage invoices to Campbell via electronic

                 messaging.

              f. Silver, Quantasy, and Campbell used electronic messaging to direct Root to make

                 fraudulent payments by wire to Quantasy;

              g. Silver, Campbell, Lanskie, Collateral Damage, and Quantasy used electronic

                 messaging to direct Quantasy to make fraudulent payments by wire to Collateral

                 Damage;

              h. Silver and Campbell, on behalf of Quantasy and Collateral Damage, regularly

                 communicated via text and WhatsApp messages about payments between Root,

                 Quantasy, and Collateral Damage;

              i. Silver, Lanskie, and Campbell used text messaging, WhatsApp, and email

                 accounts to create backdated and otherwise fraudulent documents to cover up

                 their scheme.

       137.    Defendants Silver, Campbell, Quantasy, and Collateral Damage communicated via

text message and WhatsApp to avoid detection of their fraudulent scheme. Defendant Silver

further used his personal email (as opposed to his provided Root email account) to avoid detection

of his participation in the scheme.

       138.    As a result of Defendants’ transmissions, Plaintiffs suffered damages in an amount

greater than $9.4 million.




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                         COUNT VII: Breach of Contract Against Silver

        139.    Plaintiffs restate the foregoing paragraphs as if fully rewritten herein.

        140.    The Employment Agreement and Conflicts of Interest Policy are valid contracts

between Caret Holdings and Silver.

        141.    Caret Holdings fully performed its obligations under the contracts.

        142.    In his Employment Agreement, Silver agreed to devote his “full-time energies and

attention to the business affairs” of Caret Holdings; and to perform his “duties, responsibilities and

functions to [Caret Holdings] . . . in a diligent, trustworthy, professional, ethical and efficient

manner”; and to “comply with the policies and procedures of [Caret Holdings].” The Conflicts of

Interest Policy provided that: “Root expects all employees to conduct themselves and company

business in a manner that reflects the highest standards of ethical conduct and in accordance with

all federal, state, and local laws and regulations. This includes avoiding real and potential conflicts

of interest.”

        143.    Silver breached his employment agreement and the Conflicts of Interest Policy as

described herein, by at least the following actions: (1) directing Root’s funds to be paid to his own

company Collateral Damage, (2) concealing Collateral Damage’s existence and his affiliation with

Collateral Damage from Root; (3) failing to conduct himself ethically in accordance with the law;

(4) engaging in an ongoing conflict of interest; and (5) using Root’s funds to make real estate

purchases via Eclipse.

        144.    As a direct and proximate cause of Silver’s breaches of the contract, Plaintiffs have

suffered damages greater than $9.4 million.


                     COUNT VIII: Breach of Contract Against Quantasy

        145.    Plaintiffs restate the foregoing paragraphs as if fully rewritten herein.


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       146.    SOW #1 and SOW #2 are valid contracts between RIA and Quantasy.

       147.    RIA fully performed its obligations under SOW #1 and SOW #2.

       148.    Quantasy breached the contracts by, among other things: failing to provide the

agreed upon marketing services to Root as set forth in SOW #1 and SOW #2 and by entering into

a purported subcontract with Collateral Damage without Root’s knowledge or permission.

       149.    Further, Quantasy breached the implied covenant of good faith and fair dealing.

       150.    As a direct and proximate cause of Quantasy’s breaches of the contract, Plaintiffs

have suffered damages greater than $9.4 million.

                        COUNT IX: Breach of Fiduciary Duty Against Silver

       151.    Plaintiffs restate the foregoing paragraphs as if fully rewritten herein.

       152.    As Root’s CMO, Silver had a fiduciary duty to perform his job duties in good faith,

in a manner he reasonably believed to be in the best interests of Root, and with the care that an

ordinarily prudent person in the same position would use under similar circumstances.

       153.    Silver breached his duty by diverting Root’s funds to Collateral Damage. As set

forth herein, this included: agreeing to a scheme with Quantasy and Campbell designed to defraud

Root of funds through a series of false transactions claiming that Quantasy and Collateral Damage

had provided services when neither had; failing to disclose the existence of Collateral Damage and

his affiliation with Collateral Damage to Root management; utilizing Collateral Damage to submit

false invoices to Quantasy for services not rendered, nor ever rendered, for Root’s benefit, but

rather for his own personal gain; causing a certificate of organization for Collateral Damage to be

filed with the Georgia Secretary of State in an attempt to hide Silver’s affiliation with Collateral

Damage from Root; creating false invoices, contracts, subcontracts and purported work product to

further the scheme; abusing his authority at Root to facilitate the payment of Root funds to



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Collateral Damage through Quantasy that were ultimately for his personal gain; and ultimately

using the ill-gotten funds received from Root through Quantasy and Collateral Damage for his

personal benefit, including the purchase of luxury homes in California and Florida.

       154.    Silver did not reasonably believe that he was acting in Root’s best interest.

       155.    An ordinarily prudent person in the same situation would have used substantially

greater care in performing their duties as CMO.

       156.    In fact, Silver deliberately intended to cause injury to Plaintiffs and/or acted with

reckless disregard to the best interests of Root.

       157.    As a result of Silver’s failure to observe his duty, Plaintiffs suffered damages in an

amount greater than $9.4 million.

                               COUNT X: Civil Conspiracy
      Against Silver, Campbell, Quantasy, Collateral Damage, McDaniel, and Lanskie

       158.    Plaintiffs restate the foregoing paragraphs as if fully rewritten herein.

       159.    Through the foregoing fraudulent and tortious conduct, Defendants have

maliciously and purposely conspired and combined to cause injury to Plaintiffs.

       160.    Defendants have caused injury to Plaintiffs through separate, unlawful acts of fraud

and tortious conduct, including but not limited to the following: agreeing to a scheme designed to

defraud Root of funds through a series of false transactions claiming that Quantasy and Collateral

Damage had provided services when neither had; failing to disclose the existence of Collateral

Damage to Root; utilizing Collateral Damage to submit false invoices to Quantasy for services not

rendered, nor ever rendered, for Root’s benefit; causing a certificate of organization for Collateral

Damage to be filed with the Georgia Secretary of State in an attempt to hide Silver’s affiliation

with Collateral Damage from Root; creating false invoices, contracts, purported work product and

subcontracts to further the scheme; and ultimately using the ill-gotten funds received from Root


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through Quantasy and Collateral Damage for, among other things, the purchase of luxury homes

in California and Florida.

       161.     Defendants’ malicious combination has injured Plaintiffs in an amount greater than

$9.4 million.


                                      PRAYER FOR RELIEF


       WHEREFORE, in consideration of the foregoing, Plaintiffs seek:

       A. Compensatory damages, jointly and severally from all Defendants, in an amount

              greater than $75,000;

       B. A temporary restraining order and a preliminary and permanent injunction to enjoin

              Defendants from placing any mortgage and/or other lien on, or otherwise using,

              converting, and disposing of any proceeds from any sale of the property located at

              13105 Biscayne Island Terrace, Miami, Florida and/or 9125 North Bayshore Drive

              Miami, Florida and/or 2543 Walnut Avenue, Venice, California 90291, until this

              matter is resolved on the merits;

       C.     A temporary restraining order and preliminary injunction to enjoin Defendants from

              using, converting, transferring, or disposing of any of their assets, except as normal

              day-to-day transactions;

       D. Pre- and post- judgment interest;

       E.     Punitive damages jointly and severally from all Defendants;

       F.     Attorneys’ fees and costs;

       G. Any other declarative, injunctive, or other equitable relief this Court deems just and

              appropriate.




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                                       Respectfully submitted,

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                                       Counsel for Plaintiffs




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                                        JURY DEMAND

     Plaintiffs request a trial by jury on all issues so triable.

                                                   Respectfully submitted,

                                                   /s/ William D. Kloss, Jr.
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                                                   Counsel for Plaintiffs




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                                  VERIFICATION OF COMPLAINT FOR
                                  DAMAGES AND INJUNCTIVE RELIEF


          OHIO
STATE OF ________                               )
                                                ) SS
COUNTY OF _______
           FRANKLIN                             )

           I, Robert Bateman, certify that I am the Chief Financial Officer of Root, Inc., which is the

parent company of Caret Holdings, Inc. and Root Insurance Agency, LLC. I am authorized to

make this verification on behalf of Root, Inc., Caret Holdings, Inc., and Root Insurance Agency,

LLC. I certify that I have reviewed the foregoing Complaint. The facts and statements set forth

therein are true to the best of my knowledge, information and belief.
                                                            Robert Bateman               02/02/2023 12:03 PM EST


                                                          Name (sign)

                                                          __________________________________________
                                                          Name (print) Robert Bateman


                                                          Date:

                                                              2nd
Sworn to and subscribed before me by online notarization this _____ day of February, 2023.
This is a jurat certificate; an oath or affidavit was administered to the signer.
Christopher M Blinn        02/02/2023 12:05 PM EST

Notary Public
Christopher M. Blinn

My Commission Expires: 10/30/2025                                         Online Notary Public. This notarial act involved the
                                                                          use of online audio/video communication technology.
